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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :
                                               :       Case No. 1:21-cr-523-TNM
ELIAS ELDABBAGH,                               :
                                               :
               Defendant.                      :

           GOVERNMENT’S MOTION FOR REVOCATION HEARING

        The United States, through its attorney, the United States Attorney for the District

of Columbia, respectfully moves the Court, pursuant to 18 U.S.C. § 3148(b), to initiate a

proceeding for revocation of Defendant Elias Eldabbagh’s release. Section 3148(b)

provides that government counsel “may initiate a proceeding for revocation of an order of

release by filing a motion with the district court.”

   I.      BACKGROUND

           A. Procedural Background

        On August 17, 2021, a grand jury in the District of Columbia returned an indictment

charging Defendant, Elias Eldabbagh, with wire fraud in violation of 18 U.S.C. § 1343,

engaging in monetary transactions in criminally derived funds (commonly known as

“expenditure money laundering”) in violation of 18 U.S.C. § 1957, aggravated identity

theft in violation of 18 U.S.C. § 1028A, and destruction or removal of property to prevent

seizure in violation of 18 U.S.C. § 2232(a). The charges arose from a complex scheme

utilizing stolen identities and stolen financial documents used to attempt to steal more than

$25 million in Paycheck Protection Program (“PPP”) loans and Economic Injury Disaster

Loan (“EIDL”) funds, resulting in the successful theft of $2,385,000.
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       On August 20, 2021, the Defendant was arrested in D.C. He made his appearance

on that day before Magistrate Judge Faruqui. At his initial appearance, the government

stated that while there was a basis to move to detain the Defendant, the government did not

object to release to home incarceration with a strict constellation of conditions of pretrial

release designed to address the risk of further frauds. Accordingly, the Defendant was

released to home incarceration and GPS monitoring with a multitude of additional

conditions including (1) do not violate federal, state, or local law (2) no access to the

internet except to communicate with defense counsel; (3) no access to financial accounts

except for one checking account under supervision of pretrial; (4) must submit monthly

records of all bank accounts accessed or used to pretrial services; (5) take no action with

respect to financial accounts seized pursuant to seizure order; and (6) make no request for

funds from financial institutions except by permission of pretrial services. See ECF 8

(Conditions of Release).

           B. The Indictment

       As alleged in the indictment, between July 2020 and July 2021, the Defendant filed

numerous false applications for PPP loans and EIDL funds, through the use of stolen

identities and stolen financial documents. See ECF 1. At the time of indictment,

investigators had identified more than $17 million in fraudulent PPP loan and EIDL

applications filed by the Defendant. As of the filing of this motion, investigators have

identified $25 million in fraudulent applications. Through this scheme, the Defendant

successfully stole $2,385,000 in PPP loan funds and EIDL funds. Each application was

made in the name of the Defendant’s company, Alias Systems, LLC, and was supported

by financial records – including tax returns and payroll reports – stolen from a legitimate


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consulting firm and doctored by the Defendant to appear to be tax records and payroll

reports of his company, Alias Systems, LLC. Count One through Five of the Indictment

charge the Defendant with wire fraud for five of the electronic PPP loan applications that

originated from the District of Columbia and constitute interstate wires. These applications

were filed from an IP Address registered to the Defendant in the District of Columbia.

       The fraud proceeds were deposited into an account in the name of Alias Systems,

LLC, over which the Defendant had sole signatory authority. The Defendant then began

the process of executing a truly dizzying array of transactions, ultimately transferring the

stolen funds into dozens of bank accounts, also held solely in his name, and using them to

make investments, purchase crypto-currency, and purchase a brand-new Tesla.

       Counts Six through Nineteen of the Indictment charge the Defendant with multiple

counts of 18 U.S.C. § 1957 related to these transactions. In May 2021, IRS-CI executed

seizure warrants on said Tesla and seized 19 bank accounts containing proceeds of the

fraud scheme. Counts Twenty through Thirty-Three of the Indictment charge the

Defendant with aggravated identity theft for his use of stolen identities in the fraudulent

PPP loan applications charged in Counts One through Five.

       Finally, the Defendant is charged in Count Thirty-Four with Destruction or

Removal of Property to Prevent Seizure based on the Defendant’s efforts in May 2021

through July 2021 to transfer funds held in E*Trade and Webull accounts previously seized

by IRS-CI. These efforts included attempts to transfer the seized funds and attempts to add

a second owner, in order to allow that person to fraudulently transfer the funds. Indeed, the

Defendant was successful in transferring seized funds out of his Webull account, although

IRS-CI uncovered his plot and recouped the funds through Webull.



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           C. Actions in Violation of Conditions of Release

       Notwithstanding a pending charge for Removal of Property to Prevent Seizure and

this Court’s order setting pretrial conditions of release which prohibits the Defendant from

taking action with respect to seized accounts and which prohibits any request for funds

from financial institutions, the government has recently learned that on September 15,

2021, after his release on these strict conditions of release, the Defendant contacted

CitiBank, fraudulently claiming that he did not deposit CitiBank Check # 991536681 in

the amount of $230,024.22 (“the check”) to one of the Defendant’s seized accounts at

E*Trade, and requesting that CitiBank reissue the check in an effort to circumvent the

seizure. Said differently, less than a month after his arraignment on a $25 million PPP loan

fraud scheme, the Defendant attempted to defraud CitiBank out of more than $230,000,

and in so doing violated multiple conditions of release.

       On or about September 15, 2021 the Defendant signed and submitted a sworn and

notarized Affidavit of Forgery, Alteration, Counterfeit or Unauthorized Remotely Created

Check (“the affidavit”) to CitiBank. See Exhibit 1. This affidavit fraudulently claims the

endorsement on the $230,000 check was a forgery and the Defendant did not write or

authorize the endorsement, hence did not authorize the deposit into the Defendant’s

account at E*Trade.1 While the affidavit was signed, sworn and notarized on September

15, 2021, it claims the Defendant discovered the forgery on May 1, 2021 when he requested

a check for the balance of his closed CitiBank account ending in x2045. CitiBank’s Fraud

Prevention Unit submitted a copy of the affidavit and the check to E*Trade and requested

reimbursement in the amount of $230,024.22. E*Trade recognized the ploy as fraud and


1
 See also Exhibit 2, a blank version of the Citibank Affidavit of Forgery, Alteration,
Counterfeit or Unauthorized Remotely Created Check.
                                             4
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denied the request.

       On January 19, 2022, special agents from IRS-CI interviewed the notary who

notarized the Affidavit. The notary retained records of the transaction and confirmed that

she notarized the Defendant’s signature on September 15, 2021 at the Defendant’s home

address of 642 Columbia Rd. NW, Washington, D.C. The notary also confirmed the

Defendant’s identity when shown a picture of the defendant. See Exhibit 3 (Memorandum

of Interview of Notary).

       The diagram below demonstrates the tracing of fraudulent PPP loan proceeds

through the Defendant’s US Bank Account in the name of Alias Systems and to his

CitiBank account ending in x2045 and finally to the Defendant’s E*Trade account ending

in x1226 by way of the check:




                                            5
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        On or about April 6, 2021 the Defendant’s CitiBank Account x2045 was closed

while it had a balance of remaining funds in the amount of $230,024.22. See Exhibit 4

(Citibank Statement for Account x2045). CitiBank issued the Defendant the check from a

CitiBank corporate account for the remaining balance of the account. On or about April

15, 2021,2 the check was deposited into the Defendants E*Trade brokerage account x1226.

See Exhibit 5 (E*Trade Statement for Account x1226).

                           The Defendant’s Affidavit is False

       The Defendant’s affidavit to Citibank, Exhibit 1, is patently false. First, the

supposedly forged check was deposited into E*Trade account x1226, which is held solely

in the Defendant’s name. In other words, the deposit went into his own account.

Accordingly, Statement 1 on the affidavit, “I did not receive any benefit or value from

proceeds of the check/withdrawal order, and proceeds were not used for any purpose on

my behalf[,]” is false.

       Second, the signature on the allegedly forged check is clearly that of Elias

Eldabbagh. A comparison of a known signature exemplar of Eldabbagh matches the

supposedly forged signature on the check:




2
 According to E*Trade records, the deposit was made on April 14, 2021, see Exhibit 6,
and according to Citibank records, the funds were paid out on April 15, 2021, see Exhibit
1.
                                            6
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      Signature on check that Elias Eldabbagh claimed was forged (Exhibit 1 p. 3)




    Signature of Elias Eldabbagh from Eldabbagh’s employment contract (Exhibit 7)

Accordingly, the Defendant’s statement on the affidavit that the “endorsement of Elias

Eldabbagh on the above check is a forgery. I did not write or authorize the

endorsement[,]” is false.

          Third, a photograph of the supposedly forged check was seized from the

Defendant’s phone and the date of the photograph, April 14, 2020, is the same date of

deposit into the E*Trade account. See Exhibit 6 (Forensic report of check image seized

from Eldabbagh’s phone). In other words, the Defendant took a photograph of the subject

check on the exact same day of its deposit, belying his claim that it was forged by another

person.

                      The False Affidavit Pertains to a Seized Account

          In May 2021, the government obtained seizure warrants of approximately 19 bank

accounts containing fraudulent proceeds of this scheme and a seizure warrant for a Tesla

purchased by Eldabbagh with fraud proceeds.3 Those seizure warrants were provided to


3
  See 21-sz-3 (seizure warrant for Tesla); 21-sz-4 (seizure warrant for US Bank); 21-sz-5
(seizure warrant for E*Trade); 21-sz-6 (seizure warrant for Morgan Stanley); 21-sz-7
(seizure warrant for SoFi); 21-sz-8 (seizure warrant for WeBull); 21-sz-8 (seizure warrant
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the Defendant during a simultaneous execution of a search warrant of his residence. The

seizure warrant for Citibank included only Citibank account x7483 because account x2045

had already been closed and its contents transferred in their entirety to E*Trade account

x1226. It would appear, based on the facts above, that the Defendant identified the Citibank

account x2045 as an account for which there was not a seizure warrant and surmised –

correctly – that account x2045 was not frozen, and that he might be able to fraudulently

convince Citibank to reverse the $230,024.22 transaction that transferred fraud proceeds

out of Citibank account x2045 to the seized and frozen E*Trade account x1226.

          The attempt to obtain $230,024.22 from E*Trade account x1226 through this fraud

scheme clearly constitutes an action pertaining to seized E*Trade account x1226.

    II.       APPLICABLE LAW

          A defendant “who has violated a condition of release, is subject to a revocation of

release, an order of detention, and a prosecution for contempt of court.” 18 U.S.C.

§ 3148(a). D.C. Circuit precedent permits the Government to proceed by way of proffer at

a detention hearing. See United States v. Smith, 79 F.3d 1208, 1209-10 (D.C. Cir. 1996);

see also United States v. LaFontaine, 210 F.3d 125, 131 (2d Cir. 2000) (“proffers are

permissible both in the bail determination and bail revocation contexts.”).

          Section 3148(b) directs a judicial officer to revoke a defendant’s release and order

detention if,

          after a hearing, the judicial officer –

          (1) finds that there is -

                  (A) probable cause to believe that the person has committed a


for Robinhood); 21-sz-10 (seizure warrant for CitiBank); 21-sz-11 (seizure warrant for
Primetrust); 21-sz-12 (follow-on seizure warrant for SoFi).
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                   Federal, State, or local crime while on release; or

                   (B) clear and convincing evidence that the person has violated any
                   other condition of release; and

           (2) finds that –

                   (A) based on the factors set forth in section 3142(g) of this title, there
                   is no condition or combination of conditions of release that will
                   assure that the person will not flee or pose a danger to the safety of
                   any other person or the community; or

                   (B) the person is unlikely to abide by any condition or combination
                   of conditions of release.

18 U.S.C. § 3148(b).

    III.       DISCUSSION

               A. There is clear and convincing evidence that the defendant violated his
                  conditions of release.

           In this Court’s Order Setting Conditions of Release, which the Defendant

acknowledged on the record, the Defendant was ordered, among many other conditions:

                  “The defendant must not violate federal, state, or local law while on
                   release.”4

                  “No access to internet including smart phones, computers, tables, or smart
                   TVs, [e]xcept to communicate with defense counsel and review discovery.”

                  “No access to financial accounts except for one checking account under
                   supervision of pretrial. Defendant is to restrict financial transactions to one
                   account and to submit monthly records of all bank accounts access or used
                   to pretrial services.”

                  “Take no action with respect to financial accounts that have been seized
                   pursuant to seizure order.”
4
  There is probable cause that the Defendant has violated federal law as his attempt to
steal $230,024.22 from Citibank constitutes bank fraud in violation of 18 U.S.C. § 1344
as required for revocation pursuant to 18 U.S.C. § 3148(b)(1)(A). However, the Court
need not reach whether the government has shown a violation of federal law by probable
cause because of the clear and convincing evidence that the Defendant violated multiple
other conditions of release.
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               “No… request for funds from … financial institutions except by permission
                of pretrial services.”

See ECF 8 at 1-2.

       This constellation of conditions was devised to prevent precisely this – yet another

attempt by the Defendant to fraudulently obtain money to which he is not entitled. The

Defendant’s efforts to defraud Citibank constitute a clear violation of the condition that he

take no action with respect to seized financial accounts, as the attempted transfer affected

seized E*Trade account x1226 and it is a clear violation of the order that that he make no

request for funds from a financial institution.

       The attached exhibits establish clear and convincing evidence that the Defendant

violated this Court’s release order on multiple occasions by taking action with respect to a

seized financial account and attempting to obtain funds from a financial institution without

permission of the pretrial services officer. These actions constitute a flagrant violation of

the Defendant’s conditions of release and demonstrate that this Defendant is an intractable

fraudster and is simply unable to comply with this Court’s conditions of release.

       The government also notes that the Defendant has been clearly evading the

requirement that he confine financial transactions to one account and submit monthly

reporting of that account to the Pretrial Services Agency. The Pretrial Service Agency

officer informed the United States Attorney that the Defendant has been providing bank

statements with no transactions and claiming that his live-in boyfriend pays all expenses.

According to information gathered during the investigation, the Defendant’s live-in

boyfriend did not manage the Defendant’s finances prior to his arrest, and previously told

law enforcement that he is unemployed, thus unlikely able to afford Defendant’s living



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expenses which include a $4,500.00 monthly rent payment. Accordingly, notwithstanding

the strict financial conditions of release, pretrial services has received no information

regarding how the Defendant pays his living expenses.

       The Pretrial Services Agency for the District of Columbia was informed of the

Defendant’s fraudulent Citibank affidavit on January 24, 2022 and informed the

government that it agrees, based on the documents attached hereto, that the Defendant’s

conditions of release have been violated.

           B. The factors in section 3142 support the defendant’s detention under
              section 3142(b)(2).

       The four factors that the Court must consider under section 3142(g) are (1) the

nature and circumstances of the offense; (2) the weight of the evidence; (3) the history and

characteristics of the Defendant, including his criminal history, and (4) the nature and

seriousness of the danger to any person or the community posed by the Defendant’s release.

18 U.S.C. § 3142(g). The Section 3142(g) factors all warrant the Defendant’s detention

under 18 U.S.C. § 3148(b)(2)(B).

                    i. The Nature and Circumstances of the Offense

       The nature and circumstances of Defendant’s conduct are serious. The Defendant

has attempted to steal more than $25 million in PPP loan and EIDL funds through a

complex scheme involving multiple stolen identities and stolen sensitive financial data. He

has caused an actual loss of $2,385,000. Further, the Defendant took multiple steps to

attempt to thwart IRS-CI’s seizure of the stolen funds. Accordingly, he has been charged

with five counts of wire fraud, 14 counts of expenditure money laundering, 14 counts of

aggravated identity theft, and one count of removal of property to prevent seizure. See ECF

1. The investigation is continuing, and it is possible – indeed, likely – that the investigators

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will uncover additional fraudulent applications by this Defendant.

       Each of these offenses are serious. Wire fraud carries a 20-year statutory maximum,

expenditure money laundering carries a 10-year statutory maximum, aggravated identity

theft carries a mandatory consecutive 2-year sentence, and removal of property to prevent

seizure carries a 5-year statutory maximum. The government calculates that the

Defendant’s U.S. Sentencing Guidelines Range, based on an intended loss of more than

$25 million is 36, and factoring in his estimated Criminal History Category of III, the

resulting advisory range is 235-293 months’ imprisonment before application of the

mandatory consecutive two-year sentence for aggravated identity theft,5 which functionally

shifts the advisory Guidelines range to 259 to 317 months’ imprisonment.

                  ii.         Weight of the Evidence

       The evidence in this case is unusually strong. The Defendant filed the fraudulent

PPP loan applications in the name of his own entity, Alias Systems, LLC, and from IP

addresses that were registered in his own name and at his own residence. The Defendant

supported his fraudulent applications with doctored PDFs that showed, in the metadata,

that he was the author and at times clearly showed the changes that he had made to the

documents. The Defendant had complete control over the fraudulent proceeds. They were

first deposited into a bank account over which the Defendant had sole signatory authority

and were then transferred to additional bank accounts which, also, were held solely in the

Defendant’s name. In other words, the Defendant directly received the fraudulent proceeds

and always kept custody and control of the fraudulent proceeds. The Defendant made

repeated communications with these various financial institutions, identifying himself by


5
 This calculation assumes that each aggravated identity theft sentence will be imposed
concurrently.
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name on phone calls, and inquiring after incoming fraudulent deposits. The unredacted

stolen tax returns from Company 1 as well as photographs of C.S.’s identification card,

used to implement the scheme were found on the Defendant’s personal cell phone.

Multiple credits cards of the identity theft victim, C.S., were also seized from the

Defendant’s residence during execution of a search warrant.

                  iii.        History and Characteristics of the Defendant

       The Defendant has a significant history of arrest and conviction for drug-related

and fraud-related offenses. Further, the Defendant committed the instant offense while on

probation for one offense and on pre-trial release for another. The following is based on

the undersigned’s review of National Crime Information Center (NCIC) and publicly

available state dockets:6

              On October 9, 2015, the Defendant was charged with possession, not
               marijuana, possession of marijuana and possession of paraphernalia in
               Queen Anne’s County, Maryland (0M00025753). On December 18, 2015,
               the charges were placed on the “stet” docket.

              On September 14, 2018, the Defendant was charged with theft under
               $1,500 in Montgomery County, Maryland (3D00386487). The Defendant
               pleaded guilty on November 1, 2018 and was sentenced to 6 months,
               suspended and one year of probation.

              On August 14, 2018, the Defendant was charged with petit larceny and
               obtaining money under false pretenses in Arlington, Virginia
               (GC18167831-00, GC18167834-00). He was found guilty in absentia on
               December 27, 2018.

              On September 2, 2018, the Defendant was charged with misdemeanor
               assault in Arlington, Virginia (GC18003574-00). The case was nolle
               prosequied.

              On October 23, 2018, the Defendant was charged with petit larceny

6
 Please note that information available on publicly available state dockets is not always
completely consistent with information contained in NCIC reports and this information
has not been confirmed by the Pretrial Services Agency.
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               (shoplifting) in Arlington, Virginia (GC18004186-00). He was found
               guilty on January 31, 2019. The Defendant appealed.

              On February 12, 2019, the Defendant was charged with misdemeanor petit
               larceny in Arlington, Virginia (CR19000129-00). The charge was
               amended to misdemeanor entering property to cause damage. The
               Defendant pleaded guilty on April 23, 2019 and sentenced to 180 days,
               suspended and 12 months’ probation.

              On February 19, 2019, the Defendant was charged with felony possession
               of a controlled substance in Arlington, Virginia (GC19000676-00). The
               case was nolle prosequied on November 22, 2019.

              On February 19, 2019, the Defendant was charged with misdemeanor
               possession of marijuana (GC19000677-00). He was found guilty on
               November 22, 2019 and was sentenced to 180 days, suspended.

              On March 12, 2019, the Defendant was charged with Grand Larceny in
               Arlington, Virginia (GC19053972-00). The charge was amended to
               misdemeanor trespass and the Defendant pleaded nolo contendere on July
               24, 2019. He was sentenced to 12 months, suspended. Accordingly, when
               the defendant filed a fraudulent PPP application on July 4, 2020 to Cross
               River Bank, he was still serving his suspended sentence in Arlington,
               Virginia.

              On March 18, 2019, the Defendant was charged with shoplifting in
               Arlington, Virginia (GC19001077-00). He was found not guilty on April
               19, 2019.

              On March 28, 2020, the Defendant was charged with the felony offense of
               Possession of a Schedule I/II Controlled Substance in Arlington, Virginia
               (GC20001422-00). That case was nolle prosquied in May 2021. However,
               the Defendant was on pre-trial release during the pendency of that case
               while he committed the majority of the crimes charged in the instant
               indictment.

              On September 11, 2020, the Defendant was charged with misdemeanor
               violation of probation (CR19000129-02). This was dismissed on August 6,
               2021.

                  iv. Nature and Seriousness of the Danger to any Person or the
                      Community

       The Defendant’s potential release poses an economic danger to the community,

which also is a basis for detention. The legislative history of the Bail Reform Act of 1984

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makes clear that Congress intended that the “safety of any other person or the community”

language in 18 U.S.C. § 3142 was expected to be given a broad construction. See S. Rep.

No. 225, 98th Cong., 1st Sess. 12 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3195

(“The reference to safety of any other person is intended to cover the situation in which the

safety of a particular identifiable individual, perhaps a victim or witness, is of concern,

while the language referring to the safety of the community refers to the danger that the

Defendant might engage in criminal activity to the detriment of the community. The

Committee intends that the concern about safety be given a broader construction than

merely danger of harm involving physical violence.”) (emphasis added).

       Courts have appropriately construed the statute to find that protection of the

community from economic harm is a valid objective of bail conditions. See, e.g., United

States v. Madoff, 586 F. Supp. 2d 240, 252 (S.D.N.Y. 2009) (noting support for considering

economic harm in evaluating danger to the community under § 3142 or the Bail Reform

Act); United States v. Schenberger, 498 F. Supp. 2d 738, 742 (D.N.J. 2007) (holding that

“[a] danger to the community does not only include physical harm or violent behavior” and

citing the Senate Committee Report language reproduced above); United States v.

LeClercq, No. 07-80050-cr, 2007 WL 4365601, at *4 (S.D. Fla. Dec. 13, 2007) (finding

that a large bond was necessary to, among other things, “protect the community from

additional economic harm”); United States v. Persaud, No. 05 Cr. 368, 2007 WL 1074906,

at *1 (N.D.N.Y. Apr. 5, 2007) (concurring with the Magistrate Judge that “economic harm

qualifies as a danger within the contemplation of the Bail Reform Act”); United States v.

Gentry, 455 F. Supp. 2d 1018, 1032 (D. Ariz. 2006) (in a fraud and money laundering case,

in determining whether pretrial detention was appropriate, the court held that danger to the



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community under Section 3142(g) “may be assessed in terms other than the use of force or

violence . . . [including] economic danger to the community”); United States v. Giordano,

370 F. Supp. 2d 1256, 1270 (S.D. Fla. 2005) (“There can be no question that an economic

danger . . . falls under the broad umbrella of ‘dangerousness’ as that term is used throughout

the Bail Reform Act.”).

        This Defendant has filed dozens of fraudulent applications with lenders and

government agencies seeking funds to which he is not entitled. After seizure of his

fraudulent proceeds, he continued to attempt to unlawfully regain custody of his fraud

proceeds. Even after indictment for a $17 million fraud, this Defendant continued to

attempt to defraud a financial institution in direct violation of his conditions of release. The

Defendant poses a serious and immediate economic danger to the community, which is

well exemplified by his efforts to defraud Citibank out of $230,000 while on pre-trial

release in this case.

            C. The Defendant has demonstrated that he is unlikely to abide by any
               condition of combination of conditions of release.

        The possibility of economic danger to the community if the Defendant remains on

release is persuasively established by the Defendant’s own attempts to defraud Citibank

while on release for the instant case. The Defendant has demonstrated abject disregard for

this Court’s conditions of release and it is evident that he will be unable to abide by the

Court’s conditions of release.

                                      CONCLUSION

        For the reasons stated above, the Court should revoke the Defendant’s release

pursuant to Sections 3148(b)(1)(B) and 3148(b)(2)(B) because there is clear and

convincing evidence that the Defendant has violated multiple conditions of release and the

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Defendant is unlikely to abide by any condition or combination of conditions of release.

The Defendant should be remanded to the custody of the United States Marshals Service

pending trial in this matter.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

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